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AND FOR ORDER STAY'ING CASE PENDING
JUDICIAL SETTLEMENT CONFERENCE

Cornes now the Plaintifl`, Charles Henderson, by and through his
counsel, Kathleen L. Caldwe]], and hereby moves the Court for an order
allowing a Judicial Settlement Conference, and for an order Staying the
Case Pending said Settlement Conference, and in support Plaintiff states
as follows:

1. That the parties have heretofore engaged in private

mediation, which Was not successful A private mediator, A]len S. Blair,

was retained, and the parties participated in a full day-long mediation.
The mediation was Wholly unsuccessful.

2. 'I`he parties hereafter have participated in numerous

 
 
   
 
   

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BERN|CE BOU|E DONALU
U.S. DISTR|CT JUDGE `

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3. Defendant has filed a Motion for Summary Judgment, and
Plaintiii`s response is due August 23, 2005.

4. The attorneys for the respective parties have consulted, and
there are significant reasons why a Settlement Conference at this point
and time may succeed where the prior mediation failed. Plaintiif has
applied for a promotion to another position, and there appears to be
interests on the part of both parties to compromise and settle. However,
it is sorely needed that a mediator or Magistrate Judge conduct a
Settlement Conference in order to guide the parties. The State opposes
further private mediation for financial reasons, and the Plaintiff wholly
concurs in that position. Both parties have had significant mediation
expenses heretofore.

Therefore, Plaintiff urges the Court to enter an order referring this
matter to the Magistrate Judge for Judicial Settlement Conference. In
addition, it is in the best interests of the parties that said Settlement
Conference be conducted before the Court rules on the Motion for
Summary Judgment. The Plaintiff requests at this time at least thirty
(30} additional days in order to respond to said pending motion.
Defendant will seek leave of Court to make a reply to Plaintiff`s response.
All of those efforts should be held in abeyance, pending said Judicial
Settlement Conference. This is in the best interest of judicial economy as

well as economy of the parties and their respective counsel.

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The Plaintiff urges the Court to grant the relief sought herein, the
effect of Which will be to continue the trial now set for November 14,

2005. It is impossible to conclude all of this work by said date.

Res ectfully Submitted

By W

fKa\hleen f'../Caldwell, #9916
2080 Peabody Avenue
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Telephone: (901} 274-2075
Facsimile: (901] 274-2085

 

CERTIF!CATE Ol` SERVIC!;

The undersigned hereby certifies that the foregoing Motion for
Judloial Settlement Conferenco and for Order Stayin¢ Cale Pending
Judicial Settlement Conferenoe has been served by US Mail, postage
paid, to the following:

Zaohary B. GriEith

Anlltant Attomoy General

Omce of the Attorney General

Civil Liti¢ation & State Services Dlvieion

P.O. Box 20207

Nashville, TN 37202
Cel§ifyii(g Attorney

This the§:od;; of August 20

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:03-CV-02162 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

